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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

 ANDREA THOMAS, DEANDRE               :
 TINSON, and SHONNIKA SPEARS,         :
 on behalf of themselves and others   :
 similarly situated,                  :
                                      :
            Plaintiffs,               : Case No.: 6:19-cv-1528---RBD-GJK
                                      :
       v.                             :
                                      :
 AMAZON.COM SERVICES, INC.,           :
 AMAZON LOGISTICS, INC.,              :
 AMAZON.COM LLC, JSTC, LLC,           :
 COMMERCIAL EXPRESS, INC.,            :
 COEI, LLC, AG PLUS EXPRESS,          :
 LLC, and DROP A BOX, INC.,           :
                                      :
            Defendants.               :


        MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
     UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF THE
      FAIR LABOR STANDARDS ACT SETTLEMENT AGREEMENT
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 I.     INTRODUCTION

        This collective action wage and hour lawsuit against Defendants Amazon.com

 Services, Inc., Amazon Logistics, Inc., Amazon.com LLC, (together, “Amazon”),

 JSTC, LLC, (“JSTC”) Commercial Express, Inc. (“Commercial Express”), and

 COEI, LLC (“COEI”), AG Plus Express, LLC, (“AG Plus”) and Drop a Box, Inc.,

 (“Drop a Box”) (together, the “DSP Defendants”) (collectively, the DSP Defendants

 and Amazon will be referred to as “Defendants”) has been settled, and Plaintiffs

 Andrea Thomas, DeAndre Tinson, and Shonnika Spears submit this memorandum of

 law in support of Plaintiffs’ Unopposed Motion for Preliminary Approval of the Fair

 Labor Standards Act Collective Action Settlement Agreement. The proposed

 settlement satisfies the criteria for approval of a Fair Labor Standards Act, 29 U.S.C.

 § 201 (“FLSA”) collective action settlement because it is a fair and reasonable

 resolution of a bona fide dispute reached by counsel with extensive experience in

 complex employment law cases, and after arm’s-length negotiations assisted by

 experienced wage and hour mediators.

        Plaintiffs and the approximately 1,365 Settlement Collective 1 Members worked

 as Delivery Associates (“DAs”), delivering packages to Amazon’s customers.



 1
  The Settlement Collective includes Plaintiffs and all current and former DAs who were paid by the
 DSP Defendants to deliver packages to customers of Amazon in the United States between March 1,
 2017 and June 22, 2019. The Settlement Collective does not include individuals who were provided
 with notice in and/or who opted into Gibbs v. MLK Express, LLC, Case No. 2:18-cv-434-SPC-MRM,
 an action pending in the United States District Court for the Middle District of Florida. The
 approximate Settlement Collective Member number was calculated based on the delivery data
 Amazon provided (“Rabbit” data), which indicates a DA has delivered a package to an Amazon
 customer.


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 Plaintiffs’ Consolidated Amended Collective Action Complaint alleges Defendants

 failed to pay DAs overtime compensation when they worked more than 40 hours in a

 workweek by paying DAs on a day rate basis, in violation of the FLSA. Following

 pre-litigation discussions with Amazon, two videoconference mediations with the

 court-approved JAMS mediator Stephen Sonnenberg, and a full day, hybrid in person

 / remote mediation session conducted by court-approved mediator, Dennis Clifford,

 the Parties agreed to terms to settle the matter for the approximately 28-month time

 period at issue— between March 1, 2017 and June 22, 2019 2 — for the Wage

 Settlement Amount of $955,700. The Settlement Agreement is attached as Exhibit 1.

        Plaintiffs respectfully submit this Motion should be granted because the

 proposed Settlement satisfies all the criteria for approval and is a fair and reasonable

 resolution of a bona fide dispute. Accordingly, Plaintiffs request the Court issue an

 order: (1) for settlement purposes, preliminarily certifying the collective pursuant to

 U.S.C.§ 216(b) on behalf of the Settlement Collective Members defined in the

 Settlement Agreement; (2) granting preliminary approval of the Parties’ Settlement

 Agreement as a fair and reasonable resolution of a bona fide dispute under the FLSA;

 (3) authorizing notice to be sent to members of the Settlement Collective to advise


 2
   The proposed Settlement Agreement resolves wage and hour claims of DAs for the entire period
 when DAs who performed work for the duration of the contract between Amazon and the Delivery
 Service Partner (“DSP”) Commercial Express, Inc (including the entity named of COEI, LLC) –
 between March 1, 2017 and June 22, 2019. Agreement ¶ 11(m). During this time period, the DSP
 Defendants changed their pay policies to stop paying DAs on a day rate basis. Based on Plaintiffs’
 review of payroll records from the DSP Defendants after the pay policies were changed, Plaintiffs
 allege additional violations of the wage and hour laws, including failure to include bonuses in the
 regular rate of pay for overtime purposes. Defendants deny such violations occurred. The proposed
 Settlement Agreement therefore includes the entire time period, as described in further detail below.


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 them of the settlement, allow them to submit any disputes about their estimated

 minimum settlement awards, and allow them to update their contact information with

 the settlement administrator; and (4) setting a date for final approval of the Settlement

 Agreement. Defendants do not oppose this Motion.

 II.   PROCEDURAL HISTORY

       Plaintiff Andrea Thomas worked as a DA in Florida and filed this case on

 August 16, 2018, alleging Defendant JSTC violated the FLSA by paying her and

 similarly situated individuals on a day rate basis without paying overtime for work

 performed over forty hours in a workweek (the “Action”). Plaintiffs DeAndre Tinson

 and Shonnika Spears joined in a First Amended Collective Action Complaint against

 the DSP Defendants (ECF No. 40), alleging that the DSP Defendants violated the

 FLSA in failing to pay them and similarly situated DAs overtime compensation when

 they worked more than 40 hours in a workweek by paying them and similarly situated

 individuals on a day rate basis.

       On April 22, 2021, Plaintiffs filed a separate action against Amazon, alleging

 essentially identical allegations and naming Amazon as a joint employer. The two

 cases were consolidated against all Defendants in a Consolidated Amended Collective

 Action Complaint on September 3, 2021. (ECF No. 87.)

       The Parties engaged in numerous efforts to resolve the lawsuit. Plaintiffs’

 Counsel engaged in pre-litigation discussions with Amazon and entered into a tolling

 agreement with Amazon for the benefit of the collective of the workers for the claims

 at issue. Plaintiffs and JSTC met in person in Florida on December 14, 2019, for a


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 settlement conference. Plaintiffs and all of the Defendants participated in a mediation

 via videoconference on October 15, 2020, with JAMS mediator Stephen Sonnenberg.

 (ECF No. 49.) Plaintiffs and all of the Defendants met for a second day of mediation

 with Mr. Sonnenberg via videoconference on April 7, 2021, but the Parties were not

 able to reach a resolution of the matter. (ECF No. 75.)

       On October 28, 2021, the Parties participated in a third, full-day mediation

 conducted by mediator Dennis Clifford. Mr. Clifford, Plaintiffs’ Counsel, and

 Amazon’s Counsel participated in person in Chicago, Illinois, and the DSP

 Defendants participated remotely. At the end of the business day, Mr. Clifford made

 a mediator’s proposal which was accepted by all Parties on November 5, 2021. (ECF

 No. 97.) The Parties separately negotiated wage damages and attorneys’ fees and costs.

       The Parties engaged in substantial discovery and exchange of information in

 connection with the litigation of the case and settlement efforts. Prior to their

 mediation efforts, the DSP Defendants provided Plaintiffs’ Counsel with payroll data

 and timekeeping data, and Amazon provided its delivery data (“Rabbit” data) for DAs

 who were paid by the DSP Defendants and delivered packages to Amazon customers,

 which Plaintiffs’ Counsel reviewed and analyzed extensively. Plaintiffs also served

 multiple non-party entities with subpoenas for documents and data in December 2020.

 Defendants Commercial Express and COEI responded to written discovery in the

 form of interrogatories and document requests. The Parties engaged in numerous meet

 and confer calls regarding the facts and data prior to and in connection with the




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 multiple mediations. As a result of these mediations and continued arm’s length

 negotiations, the Parties agreed to settle Plaintiffs’ claims.

 III.   TERMS OF THE SETTLEMENT

        A.     Settlement Collective Members

        There are approximately 1,365 Settlement Collective Members, as identified in

 the Rabbit data. Plaintiffs have relied on the records produced by Defendants in

 negotiating this Settlement. See supra n.1. Agreement ¶ 11(s) (defining Settlement

 Collective Members). The Parties have stipulated and agreed, for settlement purposes

 only, certification of the Settlement Collective Members as a collective under the

 FLSA pursuant to 29 U.S.C. § 216(b) is appropriate. Id. ¶ 9. Each Settlement Collective

 Member will be fully advised of this Settlement with the Notice of Settlement, which

 shall provide each Settlement Collective Member with the minimum estimated

 settlement amount they can expect to receive, as well as the number of workweeks

 used to form the basis for their settlement amount, and provide them with the

 opportunity to submit any disputes about this information to the Settlement

 Administrator. Id. at Ex. A. The Notice of Settlement will also permit Settlement

 Collective Members the opportunity to update their contact information to ensure their

 check is sent to the correct location. Id.

        B.     Calculation and Distribution of the Wage Settlement Amount

        The Parties have agreed to resolve the claims of the Settlement Collective for

 the total Wage Settlement Amount of $955,700.00. Id. ¶11(t). In addition, Defendants

 will separately pay the employer’s share of payroll taxes associated with the Wage


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 Settlement Amount, Settlement Administrator Fees in an amount not to exceed

 $19,000, and the separately negotiated Fees and Costs Settlement Amount in the

 amount of $514,300. Id. ¶11(h) (q). The entirety of the Wage Settlement Amount will

 be distributed to the Members of the Settlement Collective without the need for them

 to submit claim forms, and, with the other funds described above, will be deposited

 into an established QSF within forty-five (45) calendar days after this Court

 preliminarily approves this Proposed Settlement. Agreement ¶14, 11(l).

         The following objective formula will be utilized to calculate the settlement

 shares from the Wage Settlement Amount 3:

     1. First, the minimum amount of $50 per Settlement Collective Member will be deducted
        from the Wage Settlement Amount prior to the determination of pro rata individual
        settlement shares and allocated to each Settlement Collective Member so each
        settlement Collective Member receives at least $50 in exchange for their release in this
        Settlement Agreement. Id. ¶17(a).

     2. Second, in addition to the $50 payment, Settlement Collective Members will receive a
        pro rata portion of the Wage Settlement Amount as follows:

             a. For each workweek during which the Settlement Collective Member worked
                four (4) or more days during the Day Rate Time Period 4, the Settlement
                Collective Member shall receive five (5) settlement shares. For each workweek

 3
   For purposes of calculating the estimated minimum settlement shares to report in the Settlement
 Notice, there will be a $25,000 reserve fund, set aside from the Wage Settlement Amount, to account
 for any disputes that may arise during the course of the notice process. Id. ¶13(d). Any unallocated
 amounts from the reserve fund at the conclusion of the notice process will be utilized in the calculation
 of final settlement awards so the entirety of the Wage Settlement Amount is distributed to Settlement
 Collective Members.
 4
   The Day Rate Time Period means the time period between March 1, 2017 and February 22, 2018
 for Delivery Associates at the Tampa, FL delivery station (called DTP1); March 1, 2017 and March
 10, 2018 for Delivery Associates at the Sarasota, FL delivery station (called DSR1); and March 1,
 2017 and March 3, 2019 at the Jacksonville, FL delivery station (called DJX1), Orlando, FL delivery
 station (called DMO1), and Melbourne, FL delivery station (called DMB1). Id. ¶ 11(e). As described
 above, supra note 2, the allocation formula accounts for the change in pay policy put into place after
 the Day Rate Time Period by valuing settlement shares during this period with a multiplier of five,
 while still providing value for workweeks after this time period based on Plaintiffs’ allegations of
 continued wage and hour violations.


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                during which the Settlement Collective Member worked four (4) or more days
                during the Relevant Time Period but after the Day Rate Time Period, the
                Settlement Collective Member shall receive one (1) settlement share. Id.
                ¶17(b)(i).

             b. The total number of settlement shares for all Settlement Collective Members
                will be added together and the resulting sum will be divided into the Wage
                Settlement Amount to reach a per share dollar figure. That figure will then be
                multiplied by each Settlement Collective Member’s number of settlement
                shares to determine the Settlement Collective Member’s Settlement Award. Id.
                ¶17(b)(ii).

 Fifty percent (50%) of the amount paid to each Settlement Collective Member will be

 considered wages and the remaining 50% considered liquidated damages. Id. ¶21.

        C.      Notice to Settlement Collective Members

        The Settlement Agreement provides for robust notice provisions by first class

 mail and email, and it allows Settlement Collective Members to submit disputes

 and/or update their contact information during the Notice Period. See id. ¶ 13; Exhibit

 A. The initial Settlement Notice will inform Settlement Collective Members of their

 estimated minimum settlement amount and number of settlement shares, as well as

 other pertinent information to ensure they are adequately informed of their rights

 under the Settlement Agreement. Id. Importantly, Settlement Collective Members do

 not need to submit a claim form in order to receive their Settlement Award. Id. ¶ 13(i).

        There will be a sixty-day notice period, during which time Settlement Collective

 Members may contact the Settlement Administrator with questions regarding their

 settlement shares and submit any disputes regarding their shares. 5 Id. ¶13(i). Following



 5
  There is a rebuttable presumption that Defendants’ records are correct, but Settlement Collective
 Members may, should they disagree with Defendants’ records, provide documentation to show
 contrary information by no later than the conclusion of the Notice Deadline. Such a dispute shall be


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 the implementation of the Settlement Agreement’s notice provision, including the

 sixty-day notice period, Plaintiffs will seek final approval of the Settlement and request

 that the Court finally certify the Settlement Collective. Id. ¶13(j). Upon the Court’s

 final approval, the Parties will provide to the Settlement Administrator the final

 Settlement share calculations and the Settlement Administrator will mail Settlement

 Awards to all Settlement Collective Members, along with an accompanying Notice of

 Settlement Check substantially in the form attached at Exhibit B to the Settlement

 Agreement, as approved by the Court. Id. ¶20. The Notice of Settlement Check shall

 also be emailed to the last known address of the Settlement Collective Members. Id.

        The Settlement Awards shall be checks containing a limited endorsement

 placed on the back of the check stating that by signing, depositing, and/or cashing the

 settlement check, the Settlement Collective Member agrees to opt into this action:

        By depositing or cashing this check, I am opting into and affirm my release of
        Amazon.com Services, Inc.; Amazon.com, LLC; Amazon Logistics, Inc.;
        Commercial Express, Inc.; COEI, LLC; JSTC, LLC; AG Plus Express, LLC;
        and Drop a Box, Inc., and all other Released Parties of my Released Claims as
        defined in the Settlement Agreement approved by the Court in Thomas v.
        Amazon.com, LLC, et al., 19-cv-01528, 21-cv-00442 (M.D. Fla.). I affirm that I
        will not sue or assert any of the Released Claims, including FLSA claims,
        against any of the Released Parties.

 Id. Settlement Award checks issued to Settlement Collective Members will be valid

 and negotiable for 180 days from the issue date and will be accompanied by the Notice

 of Settlement. A reminder letter will be distributed via U.S. mail and email to those

 who have still not cashed their check after 60 days, and the Settlement Administrator


 directed to the Settlement Administrator, who will notify all Counsel of the dispute and promptly
 provide Counsel with a copy of the records provided by the individual. Id. ¶13(i).


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 will call those that have still not cashed their check to remind them to do so within the

 last 60 days of the Check Cashing Period. Any amounts from uncashed settlement

 checks remaining after the 180-day period will be paid back to Defendants in

 recognition of the fact that those individuals who do not cash their settlement checks

 do not release any claims against Defendants, as described below. Id. ¶22. At the

 conclusion of the check cashing period, Plaintiffs’ Counsel shall file a notice with the

 Court identifying the Settlement Collective Members who have signed, deposited, or

 cashed their checks and, therefore, released the Released Parties of the Released

 Claims. 6 Id. ¶23.

        D.      Release of Claims

        In exchange for the monetary benefits, Settlement Collective Members who

 sign, deposit, or cash their Settlement Award agree not to sue the Released Parties for

 the Released Claims. Settlement Collective Members who choose not to cash their

 Settlement Award shall not release any claims against Defendants, and the Notice

 proposed as Exhibit B to the Settlement Agreement so informs the Settlement

 Collective Members. Id. ¶11(m) Ex. B.

        E.      Attorneys’ Fees and Costs

        The Parties negotiated the Fees and Costs Settlement Amount separately from



 6
   “Released Claims” means any and all Fair Labor Standards Act claims (and related Florida state law
 wage claims) that accrued to the Settlement Collective Members while working for Defendants at any
 time between March 1, 2017 and June 22, 2019, including, without limitations, all FLSA and Florida
 state law claims for unpaid overtime wages, and related claims for penalties, interest, liquidated
 damages, attorneys’ fees, costs, and expenses. The Released Claims shall become released upon the
 signing, cashing, or depositing of a Settlement Award. Agreement ¶11(m).


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 the Wage Settlement Amount, in the amount of $490,000.00 as well as their out-of-

 pocket costs of $24,300. Id. ¶ 7, 11(h). The Fees and Costs Settlement Amount will

 compensate Plaintiff’s Counsel for all work performed in this Lawsuit as well as all

 work remaining to be performed, such as, securing Court approval of the Settlement

 Agreement, and making sure the Settlement Agreement is fairly administered and

 implemented, as well as reimbursement for out-of-pocket costs. Id. ¶11(h).

       F.     General Release of Defendants for Non-FLSA Claims

       The Named Plaintiffs and Defendants separately negotiated a release for Non-

 FLSA claims (general release), attached hereto as Exhibit 3. This release had no

 impact on the FLSA Settlement Agreement or the formulas used to determine FLSA

 damages. It is independent of the FLSA Settlement and supported by additional

 consideration of $10,000.00. Id. To the extent it is not necessary, the Parties do not

 seek separate approval of the Non-FLSA release, and they respectfully submit that this

 does not impact the fairness of the FLSA Settlement Agreement. See, e.g., Huff v. Bobcat

 N. Am., LLC, No. 619CV861ORL37DCI, 2021 WL 268356, at *4 (M.D. Fla. Jan. 25,

 2021), report and recommendation adopted, No. 619CV861ORL37DCI, 2021 WL 268355

 (M.D. Fla. Jan. 27, 2021) (Dalton, J.) (approving general release in the amount of

 $10,000 and explaining that “[w]hile general releases are generally disfavored in FLSA

 actions, courts have found that parties may enter into a general release for separate

 consideration” and recommending that the Court “not pass on the validity of the

 separate release, but instead find that it does not affect the fairness of the FLSA




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 settlement in this action as set forth in the Agreement”), attached hereto as Exhibit 5. 7

 This general release agreement does not contain any additional terms such as a

 confidentiality, no-rehire, or non-disparagement clauses. Id.

 IV.      ARGUMENT

          A.     The Court Should Conditionally Certify the Collective

           Plaintiffs request that the Court conditionally certify the Settlement Collective

     pursuant to 29 U.S.C. § 216(b), for the purposes of: (i) notifying the Settlement

     Collective Members of the Settlement and their rights to participate, and providing

     the opportunity for them to submit any disputes regarding their individual settlement

     shares; (ii) preliminarily approving the FLSA Settlement Agreement and its terms as

     a fair and reasonable resolution of a bona fide dispute; (iii) approving the proposed

     form of Settlement Notice (Exhibit A to Exhibit 1)and its means of dissemination;

     and (iv) setting a date for Plaintiffs’ Motion for Final Certification and Approval of

     the Settlement.

           Under the FLSA, an action “may be maintained against any employer . . . by

     any one or more employees for and in behalf of himself or themselves and other


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   See also, e.g., Roman v. FSC Clearwater, LLC, 6:16-cv-969-Orl-41DCI, 2017 WL 1552304, at *n.1
 (M.D. Fla. May 1, 2017) (court declined to express opinion on validity of general release agreement
 for which additional consideration was paid) (Mendoza, J.); Sibauste v. Forge Motor Sport, Inc., Case
 No: 6:17-cv-2069-Orl-DCI, at *n.1 (M.D. Fla. May 17, 2018) (court approved FLSA settlement
 without “passing judgment on the enforceability of any of the provisions unrelated to the settlement
 of Plaintiff’s FLSA claim, such as the general release and confidentiality provision for which separate
 consideration was paid.”) (Irick, J.); Vela v. Sunnygrove Landscape & Irrigation Maint., LLC, No. 2:18-
 cv-165-FtM-38MRM, 2018 WL 8576382, at *3-4 (M.D. Fla. Oct. 4, 2018), report and
 recommendation adopted, No. 2:18-cv-165-FtM-38MRM, 2018 WL 8576384, at *1 (M.D. Fla. Nov.
 7, 2018) (approving a general release, emphasizing that the parties’ briefing specifically explained that
 “(1) the clauses were specifically bargained for between the parties and (2) the mutual general release
 was not a condition of their FLSA settlement”).


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     employees similarly situated.” 29 U.S.C. § 216(b). Thus, the FLSA authorizes the use

     of collective actions against employers accused of violating the FLSA. Morgan v.

     Family Dollar Stores, Inc., 551 F.3d 1233, 1258 (11th Cir. 2008). 8 To maintain a

     collective action, plaintiffs must demonstrate that they are “similarly situated.” Id.

           Although not mandated, courts have utilized a two-tiered approach for

     certifying a section 216(b) opt-in collective action, and where a collective action is

     settled before conditional certification, courts in this District have utilized a two-step

     process for approval of an FLSA collective action settlement. See, e.g., Dominique v.

     Capreit, Inc., No. 2:18-cv-231 (M.D. Fla. Nov. 10, 2020); but see Mcguire v. Intelident

     Solutions, LLC, No. 8:18-cv-02995, 2020 WL 10506642, *3 (M.D. Fla. Sept. 20, 2020)

     (final certification of collective action settlement is not required, and approving

     settlement where only collective members who cash their settlement checks are bound

     by release of claims); Huff, 2021 WL 268356, at *2 (“final certification or

     decertification is not necessary for approval of the [FLSA] settlement”). 9



 8
   The purposes of the collective action are twofold: (1) to reduce the burden on plaintiffs by pooling
 their resources; and (2) to efficiently resolve common issues of fact and law that arise from the same
 illegal conduct. Id. at 1264. Basically, a collective action allows the efficient resolution of a large
 number of plaintiffs’ claims at one time. Id.
 9
   Courts in this Circuit have also utilized and endorsed a one-step approval process in FLSA cases,
 recognizing that the FLSA, unlike class actions under Rule 23, do not implicate the same due process
 concerns as underlie the two-step settlement process in Rule 23 cases. In a similar case involving
 Amazon and a DSP litigated by the same undersigned Plaintiffs’ counsel, the District Court for the
 Northern District of Georgia approved a similarly structured settlement using a one-step approval
 process. Specifically, in Gaines v. Amazon.Com, LLC, 1:19-cv-00528-WMR (N.D. Ga. June 22, 2020)
 (ECF 72), the Court approved the FLSA settlement as a fair and reasonable resolution of bona fide
 dispute, “finally certifie[d]”, for settlement purposes, the collective of delivery associates defined in
 the settlement agreement, and ordered that “Settlement Collective Members who choose to cash or
 deposit their settlement checks are hereby enjoined from prosecuting any Released Claims against
 Defendants and the Releasees.” See Gaines Order, attached as Exhibit 4.


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         In an abundance of caution, to comport with local practice and to ensure

  Settlement Collective Members have the opportunity to dispute their settlement

  shares, Plaintiffs seek an order conditionally certifying the collective at this

  preliminary approval stage. “[T]he similarly situated requirement is not particularly

  stringent.” Hipp v. Liberty Nat’l Life Ins. Co., 252 F.3d 1208, 1241 (11th Cir. 2001). To

  demonstrate that a group of similarly situated employees exists, a plaintiff must only

  show that his position is similar – not identical – to the positions held by the putative

  class members. Id. While a plaintiff is not required to demonstrate the existence of an

  illegal pay practice or policy at the conditional certification stage, he may do so as a

  means of meeting the “similarly situated” standard. Grayson v. K Mart Corp., 79 F.3d

  1086, 1095 (11th Cir. 1996).

         The DAs to whom Plaintiffs seek to send settlement notice are similarly

  situated in that they 1) all performed uniform services which Plaintiffs allege were at

  the direction of Defendants to deliver Amazon’s packages; 2) they all performed work

  pursuant to a single contract for one DSP; 3) they were all paid pursuant to a day rate

  compensation policy that violated the FLSA until such time that the DSPs and/or its

  subcontractors were allegedly directed to cease paying Delivery Associates on a day

  rate basis by Amazon; and 4) were not paid overtime for all hours worked over forty

  (40) in a single work week. As such, Plaintiffs easily satisfy the criteria for issuance of

  notice under 29 U.S.C. § 216(b), which will permit all members of the Settlement

  Collective to receive payment for the alleged uncompensated wages that they were

  denied during the course of their work. Numerous courts have certified similar classes

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  and collectives of DAs performing similar work for DSPs performing contracts with

  Amazon in cases around the country. 10

          Defendants stipulate to certification for settlement purposes only. Following

  notice and final approval, collective members will be sent settlement awards and will

  affirmatively “opt-in” to the litigation by cashing or depositing their settlement award,

  with language on the back of the check affirming their opting in to the settled

  litigation. See, supra Section III(C). At the conclusion of the check cashing period,

  Plaintiffs’ Counsel will file a notice with the Court identifying the Settlement

  Collective Members who opted in to the settled litigation. Id. See also Agreement at

  ¶23. Similar processes for settlement have been approved by district courts in this

  Circuit as well as across the country, including in cases involving Amazon and

  DSPs. 11 Collective action treatment is appropriate for purposes of settlement.


 10
    Hickman v. TL Transportation, LLC, Amazon.com, et al., No. 2:17-cv-01038, Dkt. No. 130; Hickman,,
 317 F. Supp. 3d 890 (E.D. Pa. 2018); and Hickman, 318 F. Supp. 3d 718 (E.D. Pa. 2018) (settlement
 on behalf of DAs in class and collective wage claim against Amazon and DSP; favorable opinions
 obtained on liability, personal jurisdiction, DSP owner individual liability, and certification); Green v.
 Amazon.com, et al., No. 1:18-cv-1032 (M.D.N.C.) (DAs represented by Undersigned Counsel certified
 for settlement purposes on behalf of “all current and former [DAs] who were paid by Defendant
 Valdivia to deliver packages to customers of Amazon.com …”); Gaines v. Amazon.com, LLC, et al., No.
 1:19-cv-00528-WMR (N.D. Ga. Jun. 22, 2020) (Dkt. No. 72) (DAs represented by Undersigned
 Counsel with collective certified for settlement purposes on behalf of “Plaintiff, Opt-In Plaintiffs, and
 all current and former [DAs] who were paid by Defendant on the Go to deliver packages to customers
 of Amazon.com …”); Gongaware v. Amazon.com, et al., No. 1: 18-cv-08358 (N.D. Ill.) (DAs represented
 by Undersigned Counsel certifying for settlement purposes “a class and collective of … all [DAs] who
 were paid by Defendant Sheard-Loman Transport, LLC to deliver packages to Amazon customers
 ….”); Southern Star Express v. Page, No. 5:19-cv-01423 (W.D. Tx. Mar. 31, 2021) (Dkt. No. 42) (DAs
 represented by Undersigned Counsel approving settlement on behalf of collective of “all current and
 former [DAs] paid by Southern Star to deliver packages to customers of Amazon…”).
 11
    In each of the cases listed in footnote 10, the district courts approved similar procedures regarding
 the release of FLSA claims to the one proposed here. See, e.g., Ex. 4, Gaines v. Amazon.Com, LLC,
 1:19-cv-00528-WMR (N.D. Ga. June 22, 2020) (ECF 72); See also Mcguire, 2020 WL 10506642, *3
 (approving settlement where only collective members who cash their settlement checks are bound by
 release of claims); Frazier v. American Health Imaging, Inc., 1:16-CV-02148-ELR (N.D. Ga. Sept. 28,


                                                    14
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        B.      The Court Should Preliminarily Approve the Settlement

                1.      Legal Standard for Approval of FLSA Settlements

        When parties bring a proposed settlement of an FLSA claim before a court, the

 Court must scrutinize the settlement to determine whether it is a fair and reasonable

 resolution of a bona fide dispute. Lynn’s Food Stores, Inc. v. U.S., 679 F. 2d 1350, 1354-

 55 (11th Cir 1982)). If a settlement in an FLSA suit reflects “a reasonable compromise

 over issues,” such as FLSA coverage or computation of wages that are “actually in

 dispute,” the court may approve the settlement “in order to promote the policy of

 encouraging settlement of litigation.” Id. at 1354. “There is a strong presumption in

 favor of settlement.” Huff, 2021 WL 268356, at *2.

        The Settlement Agreement meets the requirements for both fairness and

 reasonableness and furthers the implementation of the FLSA. The Court should

 preliminarily approve the Settlement Agreement.

                2.      A Bona Fide Dispute Existed Between the Parties

        A proposed settlement resolves a bona fide dispute where its terms “reflect a

 reasonable compromise over issues such as…back wages, that are actually in dispute.”




 2017) (ECF 27) (all Participating Settlement Opt-ins …will be deemed by the Court to have
 consented to this lawsuit and opted into this lawsuit by negotiating a Settlement Check.”); Adams v.
 Peco Foods, Inc., 2012 WL 13024002 (N.D. Ala. Mar. 2, 2012) (same); see also Day v. NuCO2 Mgmt.,
 LLC, 1:18-cv-02088, 2018 WL 2473472, at *1 (N.D. Ill. May 18, 2018) ( “Eligible Settlement Class
 Members will not be bound by the release if they do not timely sign and cash their settlement
 payments”); Prena v. BMO Fin. Corp., No. 15 C 09175, 2015 WL 2344949, *1 (N.D. Ill. May 15,
 2015) (approving FLSA settlement and noting “[t]he settlement notice is approved. It is sufficiently
 in plain English to explain the important points: the terms of the settlement, the allocation formula,
 the amount of the entitlement, how to opt-in, and that cashing the check is equivalent to releasing
 the claim.”).


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 Lynn’s Foods Stores, 679 F.2d at 1355. Here, the Parties disagreed on numerous legal

 and factual issues that would have impacted the case moving forward, including, but

 not limited to, the following:

       1)     the amount of time the DAs spent performing their work, and whether the DSP
              Defendants’ timekeeping methods accurately tracked all time worked for
              purposes of calculating overtime;

       2)     the appropriate rate at which overtime should be paid when DAs were paid a
              day rate (i.e., half-time or time-and-one-half the regular rate);

       3)     whether Defendants would be able to meet their burden of demonstrating good
              faith, such that they would avoid the imposition of liquidated damages;

       4)     whether Amazon would be held liable for the alleged pay violations as a joint
              employer, and whether the DSP Defendants would be able to pay any judgment
              in the event Amazon was not found to be a joint employer;

       5)     whether Plaintiffs could maintain a collective action; and

       6)     whether Plaintiffs and/or Defendants would appeal myriad legal or factual
              determinations, including collective action treatment, liability, and damages.

       Ultimately, the Wage Settlement Amount agreed upon represents a

 compromised resolution on these issues, accounts for the risks of litigation, and

 provides certain, immediate, and meaningful payment for the low wage workers in

 this case for the time period at issue. See, e.g., Reams v. Michael Angelo Rest., Inc., No.

 7:19-CV-53 (HL), 2019 WL 6898656, at *2 (M.D. Ga. Dec. 18, 2019) (approving

 settlement resolving bona fide disputes regarding “whether Plaintiff received the

 statutory rate for his overtime hours; the number of overtime hours Plaintiff worked;

 the applicable statute of limitations; and whether Plaintiff is entitled to liquidated

 damages”).

               3.    The Settlement is Fair and Reasonable



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         The proposed Settlement in this case meets the standard for approval of an

 FLSA Settlement because it has been negotiated at arm’s length and is a fair and

 reasonable compromise of disputed issues under Lynn’s Food Stores and satisfies all of

 the Leverso factors applied by this Circuit to assess fairness and reasonableness of

 settlement of an FLSA collective action. 12

                         a.       The Parties Fairly and Honestly Negotiated the
                                  Settlement and There was No Fraud or Collusion

         The settlement reached represents an excellent result for the Settlement

 Collective Members. There is no indicia of fraud or collusion with respect to this

 proposed Settlement, which was reached after arm’s-length negotiations, including

 three full-day mediations conducted by two separate respected wage and hour

 mediators over the course of a year, including an in-person mediation in Chicago after

 the exchange of substantial data and analyses and numerous meet and confers

 regarding potential exposure. Indeed, the final settlement was the product a mediator’s

 proposal designed to reach a compromise resolution between intransigent Parties. See,

 e.g., ECF No. 95-1 (Decl. of Dennis Clifford).

         The settlement is based on extensive and appropriate investigation, including

 detailed analyses of the data provided. Ultimately, represented by experienced


 12
   In determining whether an FLSA settlement is “fair and reasonable,” courts in the Eleventh Circuit
 may consider the following six factors: “(1) the existence of collusion behind the settlement; (2) the
 complexity, expense, and likely duration of the case; (3) the stage of the proceedings and the discovery
 completed; (4) the probability of the plaintiffs’ success on the merits; (5) the range of possible recovery;
 and (6) the opinions of counsel.” Huff, 2021 WL 268356, at *2 (citing Leverso v. SouthTrust Bank of Ala.
 Nat. Ass’n, 18 F. 3d 1527, 1530 n.6 (11th Cir. 1994)). “When considering these factors, the Court
 should keep in mind the strong presumption in favor of finding a settlement fair.” Dail v. George A.
 Arab Inc., 391 F. Supp. 2d 1142, 1146 (M.D. Fla. 2005) (internal quotes and citation omitted).


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 counsel, and with assistance of two experienced mediators, the Parties have agreed to

 this Settlement as a fair and reasonable resolution of the action. Crabtree v. Volkert, Inc.,

 2013 WL 593500, at *3 (S.D. Ala. Feb. 14, 2013) (court’s conclusion that settlement

 is reasonable is “reinforced by the fact that plaintiffs were ably represented during the

 settlement negotiations by capable, experienced counsel with extensive experience in

 complex employment law cases.”). These factors support approval of the Settlement.

                      b.     The Settlement is Fair and Reasonable In View of the
                             Complexity, Expense, and Likely Duration of the
                             Litigation, and the Range of Recovery

        The Settlement provides the Settlement Collective Members a certain,

 substantial and immediate payment and averts years of continued complex, time-

 consuming, and expensive litigation, with no assurance of success. Importantly, the

 acceptance of this settlement is voluntary—if Settlement Collective Members do not

 wish to participate in the settlement and do not cash their settlement award, they will

 not release any claims against Defendants.

        The Settlement provides an excellent result to Settlement Collective Members.

 Schalman-Bergen Decl. During this time-period, Settlement Collective Members

 averaged only approximately 20 weeks of work. Id.at ¶ 20. Based on analysis of the

 data provided, in more than 60% of workweeks, Settlement Collective Members were

 unlikely to have worked more than forty hours in a workweek (and therefore would

 not be entitled to any overtime damages). Id.at ¶ 20. Plaintiffs’ counsel performed

 damages calculations using various assumptions about the amount of time worked in

 each workweek that appeared in the Rabbit data, and the rate of overtime they would


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 have been owed if Plaintiffs prevailed on all claims. 13 Ultimately, the Wage Settlement

 Amount agreed upon represents a compromise amount that totals more than

 approximately 4.5 times Plaintiffs’ lowest calculations utilizing the legal and factual

 assumptions Defendants argued were reasonable and proper, and approximately 50%

 of alleged unpaid wages using Plaintiffs’ most favorable calculations (that Defendants

 challenged both legally and factually). Id.at ¶ 21. This will result in significant amounts

 of compensation being paid to the low wages workers who worked for relatively short

 periods of time in workweeks between March 1, 2017 and June 22, 2019.

        This is an excellent result, which provides Settlement Collective Members a

 certain, substantial, and immediate payment and averts years of continued complex,

 time-consuming, and expensive litigation, with no assurance of success. Id.at ¶ 22. The

 fairness of these amounts is further supported by the structure of the settlement,

 whereby all Settlement Collective Members will be sent a check without the

 administrative hurdle of having to submit a claim form. Settlement Collective

 Members will then have the option of cashing their check and releasing their claims.

 If they do not believe that the settlement represents fair and adequate compensation

 for their claims, they do not need to cash the settlement check. This process maximizes

 the amount of money available to Settlement Collective Members without the due


 13
   Defendants strenuously objected to any calculations that involved payment of damages at a time
 and a half rate. Compare Rodriguez v. Republic Servs., No. SA–13–CV–20–XR, 2013 WL 5656129 (W.D.
 Tex. Oct. 15, 2013) (holding that where employer pays a day rate and additional forms of
 compensation, it may not pay overtime at only the half time rate, rather than one and one-half times
 rate) with Hernandez v. Plastipak Packaging, 15 F.4th 1321 (11th Cir. 2021) (holding that paying
 employee a bonus, on top of fixed weekly salary, does not preclude an employer from using fluctuating
 workweek method to calculate employee's overtime pay).


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 process concerns inherent in Rule 23 cases where claims are released by virtue of

 approval of the settlement.

                     c.     The Stage of the Proceedings and Discovery Completed

       The court considers “the degree of case development that class counsel have

 accomplished prior to settlement” to ensure “counsel had an adequate appreciation of

 the merits of the case before negotiating.” George v. Academy Mortgage Corp., 369 F.

 Supp. 3d 1356, 1370 (N.D. Ga. 2019). “At the same time, ‘[t]he law is clear that early

 settlements are to be encouraged, and accordingly, only some reasonable amount of

 discovery should be required to make these determinations.’” Id. at 1371.

       Here, the Settlement was reached after thorough investigation and analysis of

 the facts and law related to the claims, and continuous development of the facts

 through interviewing Plaintiffs and other collective members and through the

 mediation process, including Plaintiffs’ Counsel’s extensive review and analysis of

 payroll and timekeeping data and Amazon’s delivery data. Schalman-Bergen Decl. 18.

 See George, 369 F. Supp. 3d at 1371 (“Class Counsel’s review of the payroll, class

 identification, and other documents produced positioned them to evaluate with

 confidence the strengths and weaknesses of Plaintiffs’ claims…”). Plaintiffs’

 Counsel—who have extensive experience in litigating wage and hour cases against

 Amazon and DSPs—were familiar with the applicable law and facts and with the risks

 attendant in continuing to pursue the litigation.

                     d.     The Risks of Achieving Success on the Merits




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        “The ‘likelihood and extent of any recovery from the defendants absent …

 settlement’ is another important factor in assessing the reasonableness of a settlement.”

 George, 369 F. Supp. 3d at 1371. A trial on the merits would involve significant risks

 for Settlement Collective Members based on the disputed issues identified in Section

 B(2), supra. In addition, as in any FLSA case, there was a risk the Settlement Collective

 Members would not succeed in maintaining a collective through trial. While Plaintiffs

 believe the case was very strong, the outcome of the litigation would require significant

 factual development. Moreover, any verdict at trial could be delayed based on any

 appeals by Defendants. Further, if Plaintiffs had not prevailed in holding Amazon

 liable as a joint employer, it is not clear that the remaining Defendants would have

 been able to satisfy any judgment, even if Plaintiffs had prevailed on all claims. These

 likely risks attending to Plaintiffs’ claims and the certain delay and expense of

 continued litigation further counsel in favor of final approval of this Settlement. 14

                4.      The Proposed Settlement Furthers the Purpose of the FLSA

        Finally, the Settlement Agreement contains no provisions that would be

 contrary to the purposes of the FLSA or frustrate the implementation of the FLSA in

 the workplace, such as a confidentiality clause or overbroad release. The Settlement

 Agreement furthers the purposes of the FLSA by providing Settlement Collective



 14
   Lockwood v. CIS Services, LLC, No. 3:16-cv-965, 2019 WL 2226126, at *9 (M.D. Fla. May 3, 2019)
 (“Without a settlement, the parties would have to proceed to trial, and the plaintiffs would risk
 receiving nothing. The parties and their counsel believe this is a reasonable settlement.”); Crabtree,
 2013 WL 593500, at *3 (finding FLSA settlement reasonable, because even if plaintiffs had prevailed
 in proving liability, defendant may have prevailed in demonstrating good faith, such that no liquidated
 damages award was appropriate).


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 Members, DAs earning relatively low wages, with substantial recovery for their unpaid

 wages and overtime they may have otherwise been unable to recover. See 29 U.S.C. §

 202 (congressional finding and declaration of policy); Brooklyn Sav. Bank v. O’Neil, 324

 U.S. 697, 706 (1945) (“The statute was a recognition of the fact that due to the unequal

 bargaining power as between employer and employee, certain segments of the

 population required federal compulsory legislation to prevent private contracts on their

 part which endangered national health and efficiency....”). All Settlement Collective

 Members will receive an award, and will not release any claims against Defendants

 unless they sign, cash, or deposit their Settlement Award check. See supra n.11.

        Additionally, because a plaintiff may only compromise FLSA claims on the

 basis of a “dispute over FLSA provisions,” certain concessions, such as pervasive

 general releases are reviewed for their impact on a settlement’s fairness, especially

 when they appear gratuitous or to be the result of overreaching by an employer. See

 Bright v. Mental Health Res. Ctr., Inc., No. 3:10–cv–427–37TEM, 2012 WL 868804,

 (M.D. Fla. Mar. 14, 2012) (“Employers cannot use the settlement of FLSA claims to

 extract a general release of claims before paying over the wages”).

        The Settlement Agreement does not contain a pervasive general release 15,

 though it does release wage and hour claims under the FLSA and state law. This is

 because Plaintiffs’ analysis led them to allege that, after the change from day rate to



 15
   As described in Section III(F), the general release agreements between Defendants and the Named
 Plaintiffs were separately negotiated for separate consideration. Similar such agreements have been
 approved by this Court. See Huff, 2021 WL 268356, at *2.


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 hourly, payroll records showed a failure to incorporate bonuses in the regular rate, and

 therefore the settlement includes all weeks worked by Settlement Collective Members

 for the duration of the applicable DSP contract with Amazon. Narrow releases such

 as this are approved as fair and reasonable. Plazas v. Dr. Phillips Ctr. for Performing Arts,

 Inc., 6-18-CV-392-Orl-37TBS, 2018 WL 3432739, at *3 (M.D. Fla. June 29, 2018)

 (approving a release for all unpaid wage claims under FLSA “or any similar state or

 local law”), report and recommendation adopted, 2018 WL 3428155 (M.D. Fla. July

 16, 2018) (Dalton, J.). The Settlement Agreement should be preliminarily approved.

        C.     The FLSA Supports the Negotiated Fees and Costs in the Proposed
               Settlement

        The FLSA provides “[t]hat the court in such action shall, in addition to any

 judgment awarded to the plaintiff or plaintiffs, allow a reasonable attorney’s fee to be

 paid by the Defendants, and costs of the action.” 29 U.S.C. § 216(b). Counsel for the

 Parties stipulate that the amount negotiated as attorneys’ fees and costs is fair and

 reasonable, and that Plaintiffs accept this amount in full satisfaction of the attorneys’

 fees and costs incurred.

        This District has held that the court’s scrutiny of the reasonableness of the fees

 is unnecessary in an FLSA settlement where “the plaintiff’s attorneys’ fee was agreed

 upon separately and without regard to the amount paid to the plaintiff,” except in

 circumstances where “the settlement does not appear reasonable on its face or there is

 reason to believe that the plaintiff’s recovery was adversely affected by the amount of

 fees paid to his attorney.” Bonetti v. Embarq Mgmt. Co., 715 F. Supp. 2d 1222, 1228



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 (M.D. Fla. 2009). 16 In addition, the FLSA provides for a mandatory award of “[c]osts

 of the action to a prevailing plaintiff.” See 29 U.S.C. § 216(b); Glenn v. Gen Motors Corp.,

 841 F.2d 1567 (11th Cir. 1988).

         This Court applies Bonetti and has stated that the fairness and reasonableness of

 attorneys’ fees is established when the Parties separately negotiate the claim for

 attorneys’ fees and nothing in the record indicates that the Plaintiffs’ recovery would

 be adversely affected by the amount paid to counsel. Buntin v. Square Foot Mgmt. Co.,

 LLC, 6:14-CV-1394-ORL-37, 2015 WL 3407866, at *4 (M.D. Fla. May 27, 2015); See

 also Huff, 2021 WL 268356, at *4 (adopted by Dalton, J.) (parties’ representations of

 separate negotiation of attorneys’ fees adequately establishes the reasonableness of the

 fees under the Agreement).

         Similarly, here, the Plaintiffs’ damages were calculated using the formulas

 discussed, and the fees were separately negotiated based on time expended, which the

 Parties agree was necessary for the prosecution of this action. Schalman-Bergen Decl.

 ¶ 23. This case has been time consuming, and Plaintiffs’ Counsel has spent significant


 16
   See also Urbas v. Nutritious Lifestyles, Inc., No. 3:19-cv-855-J-34PDB, 2020 WL 264686, at *3 (M.D.
 Fla. Jan. 2, 2020) (“If the parties negotiated attorney’s fees separately from the amount to the plaintiff,
 the court need not undertake a lodestar review of the attorney’s fees for reasonableness”); Campbell v.
 Pincer’s Beach Bar Grill, Inc., No: 2:15–cv–695, 2017 WL 3700629, *4 (M.D. Fla. Aug. 24, 2017) (“If
 these matters are addressed independently and seriatim, there is no reason to assume that the lawyer’s
 fee has influenced the reasonableness of the plaintiff’s settlement.”); Wing v. Plann B. Corp., No. 6:11–
 cv–1499–Orl–36GJK, 2012 WL 4746258, at *4 (M.D. Fla. Sept 17, 2012) (declining to examine
 reasonableness of attorney’s fee payment in FLSA settlement where “Plaintiff’s claims were resolved
 separately and apart from the issue of attorneys’ fees,” such that “there is no reason to believe that
 Plaintiff’s recovery was adversely affected by the amount of fees and costs to be paid to Plaintiff’s
 counsel.”); Vogenberger v. ATC Fitness Cape Coral, LLC, 2015 WL 1883537, at *5 (M.D. Fla. Apr. 24,
 2015); Hosier v. Mattress Firm, Inc., 2012 WL 2813960 (M.D. Fla. June 8, 2012); see also Barbee v. Kochg
 River Steel, LLC, 927 F.3d 1024, 1027 (8th Cir. 2019) (held that the FLSA does not require court
 approval for attorneys’ fees as the statute treats the merits of a claim and attorneys’ fees as distinct).


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 amounts of time both in pursuing discovery formally and informally, and in working

 with multiple parties in extensive mediation processes that ultimately led to a

 settlement that will provide more than a thousand low wage workers with meaningful

 compensation for their work. Id. ¶ 23. Plaintiffs’ Counsel pursued this action on a

 complete contingent basis, and has spent time and expended significant costs to

 prosecute this action, with no guarantee of recovery. Id. The agreement regarding the

 payment of attorneys’ fees and costs does not affect the reasonableness and fairness of

 the settlement and should be approved. 17

 V.     CONCLUSION

        Plaintiffs respectfully requests that the Court grant this Unopposed Motion to

 Preliminarily Approve the Settlement, and enter an accompanying proposed Order:

 (1) for settlement purposes, preliminarily certifying the collective pursuant to U.S.C.§

 216(b) on behalf of the Settlement Collective Members defined in the Settlement

 Agreement; (2) granting preliminary approval of the Parties’ Settlement Agreement as

 a fair and reasonable resolution of a bona fide dispute under the FLSA; (3) authorizing

 notice to be sent to members of the Settlement Collective to advise them of the

 settlement, allow them to submit any disputes about their estimated minimum

 settlement awards, and allow them to update their contact information with the

 settlement administrator; and (4) setting a date for final approval of the Settlement

 Agreement.


 17
   Should the Court seek further information about the Fees and Costs Settlement Amount, Plaintiffs
 can supplement their submission in connection with seeking final approval from the Court.


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 Dated: December 17, 2021           Respectfully submitted,

                                    /s/ Sarah R. Schalman-Bergen
                                    Sarah R. Schalman-Bergen
                                    Krysten Connon
                                    LICHTEN & LISS-RIORDAN, PC
                                    729 Boylston St, Suite 2000
                                    Boston, MA 02116
                                    Telephone: (617) 994-5800
                                    ssb@llrlaw.com
                                    kconnon@llrlaw.com

                                    Janet R. Varnell
                                    Brian W. Warwick
                                    VARNELL & WARWICK, P.A.
                                    1101 E. Cumberland Ave.
                                    Suite 201H, #105
                                    Tampa, FL 33602
                                    (352)753-8600
                                    jvarnell@vandwlaw.com

                                    Ryan Hancock
                                    WILLIG, WILLIAMS & DAVIDSON
                                    rhancock@wwdlaw.com
                                    1845 Walnut Street, 24th Floor
                                    Philadelphia, PA 19103

                                    Michaela L. Wallin
                                    BERGER MONTAGUE PC
                                    mwallin@bm.net
                                    1818 Market Street, Suite 3600
                                    Philadelphia, PA 19103



                                    Attorneys for Plaintiffs and the FLSA Collective




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                          CERTIFICATE OF SERVICE
       The undersigned hereby certifies a true and correct copy of the foregoing has

 been filed on the ECF docket and is available for viewing and download on this 17th

 day of December 2021.


                                           s/ Sarah R. Schalman-Bergen
                                            Sarah R. Schalman-Bergen




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